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                 UNITED STATES DISTRICT COURT
                 EASTERN DISTRICT OF MICHIGAN
                      SOUTHERN DIVISION

TIMOTHY KING, et.al.,                       Case No. 20-cv-13134
    Plaintiffs,                             Hon. Linda V. Parker

v.

GRETCHEN WHITMER, in her official capacity
as Governor of the State of Michigan, et.al.,
     Defendants,

and

ROBERT DAVIS,
     Intervenor Defendant.
__________________________________________________________________/
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  INTERVENOR DEFENDANT ROBERT DAVIS’ RESPONSE TO
        PLAINTIFFS’ MOTION FOR TRO (ECF NO. 7).



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      NOW COMES, INTERVENOR DEFENDANT ROBERT DAVIS

 (hereinafter “Intervenor Defendant Davis”), by and through his

 attorney, ANDREW A. PATERSON, and for his Response to Plaintiffs’

 Motion for Temporary Restraining Order (TRO) (ECF No. 7), states the

 following:


                             I.    Introduction


      On November 25, 2020, Plaintiffs filed a five-count, 75-page

 complaint against Defendants Governor Gretchen Whitmer, Secretary

 of State Jocelyn Benson and the State Board of Canvassers. (ECF No.

 1). Then on November 27, 2020, without obtaining special leave from

 this Court or permission from the Defendants, Plaintiffs unilaterally

 filed what purports to be an 86-page amended complaint (ECF No. 6).

 On November 30, 2020, Intervenor Defendant Davis filed an emergency

 motion to intervene as a party defendant. (ECF No. 12). On December

 2, 2020, this Court entered an order granting Intervenor Defendant

 Davis’ emergency motion to intervene [12] along with granting the City

 of Detroit’s [5] and the Democratic National Committee’s and Michigan

 Democratic Party’s [14] respective motions to intervene. (See Order,

 ECF No. 28).
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                       II.   Law and Legal Analysis

         A. Plaintiffs Have Not Satisfied The First Element For
            Issuance of an Ex Parte Temporary Restraining Order
            Pursuant To Fed.R.Civ.P. 65(b), Or Preliminary
            Injunction Pursuant To Fed.R.Civ.P. 65(a).

      To obtain the extraordinary remedy of a TRO, Plaintiff must “clearly

 show that immediate and irreparable injury, loss, or damage will result

 . . . before [Defendant] can be heard in opposition.” Fed. R. Civ. P.

 65(b)(1)(A). “The only type of injunctive relief that a district court may

 issue ex parte is a temporary retaining order. Fed.R.Civ.P. 65(b).” First

 Tech. Safety Systems, Inc. v Depinet, 11 F.3d 641, 650 (6th Cir. 1993).

 “[T]he same factors [are] considered in determining whether to issue a

 TRO or a preliminary injunction.” Ohio Republican Party v Brunner, 543

 F.3d 357, 361 (6th Cir. 2008) (quoting Ne. Ohio Coal. For Homeless &

 Serv. Emps. Union v Blackwell, 467 F.3d 999, 1009 (6th Cir. 2006); see

 also Valenti v Snyder, 853 F.Supp.2d 691 (E.D. Mich. 2012).

      When considering a motion for preliminary injunction under Fed.

 R. Civ. P. 65(a), the Court must weigh the following four factors: “(1)

 whether the movant has a strong likelihood of success on the merits; (2)

 whether the movant would suffer irreparable injury without the

 injunction; (3) whether the issuance of the injunction would cause

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 substantial harm to others; and (4) whether the public interest would be

 served by the issuance of the injunction.” Certified Restoration v Dry

 Cleaning Network, L.L.C. v Tenke Corp., 511 F.3d 535, 542 (6th Cir.

 2007). Courts are generally required to balance these four factors, and

 none of the factors, standing alone, is a prerequisite to relief. Folden v

 Kelsey-Hayes, Co., 73 F.3d 648, 653 (6th Cir. 1996).

       At the preliminary injunction stage, “a plaintiff must show more

 than a mere possibility of success,” but need not “prove his case in full.”

 Certified Restoration Dry Cleaning Network, 511 F.3d at 543 (citations

 omitted). “[I]t is ordinarily sufficient if the plaintiff has raised questions

 going to the merits so serious, substantial, difficult, and doubtful as to

 make them a fair ground for litigation and thus for more deliberate

 investigation.” Six Clinics Holding Corp., II v. Cafcomp Sys., Inc., 119

 F.3d 393, 402 (6th Cir.1997) (citation omitted). However, “[w]hen a party

 seeks a preliminary injunction on the basis of a potential constitutional

 violation, ‘the likelihood of success on the merits often will be the

 determinative factor.’” Obama for America v Husted, 697 F.3d 423, 436

 (6th Cir. 2012) (quoting Jones v. Caruso, 569 F.3d 258, 265 (6th Cir.2009)).




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         1. Plaintiffs Are Not Likely To Succeed On The Merits.


      As noted, “[w]hen a party seeks a preliminary injunction on the

 basis of a potential constitutional violation, ‘the likelihood of success on

 the merits often will be the determinative factor.’” Obama for America,

 697 F.3d at 436 (quoting Jones v. Caruso, 569 F.3d 258, 265 (6th

 Cir.2009)). Plaintiffs are not likely to succeed on the merits because the

 relief they seek are barred by sovereign immunity under the Eleventh

 Amendment, would amount to the changing of established election

 procedures at the “11th hour”, and are barred by res judicata, collateral

 estoppel, and laches.


      a. Plaintiffs’ Claims Against Defendant State Board of
         Canvassers Are Barred By Eleventh Amendment
         Sovereign Immunity.

      As an initial matter, all of Plaintiffs’ claims pled and asserted

 against the Defendant State Board of Canvassers are barred by the

 Eleventh Amendment.

      The Eleventh Amendment provides: “The Judicial power of the

 United States shall not be construed to extend to any suit in law or

 equity, commenced or prosecuted against one of the United States by

 Citizens of another State, or by Citizens or Subjects of any Foreign State.”
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 U.S. Const. amend. XI. Eleventh Amendment immunity “bars all suits,

 whether for injunctive, declaratory or monetary relief, against the state

 and its departments, by citizens of another state, foreigners or its own

 citizens.” Thiokol Corp. v. Dep't of Treasury, 987 F.2d 376, 381 (6th

 Cir.1993) (internal citations omitted).

      As noted, “[i]n addition to the states themselves, Eleventh

 Amendment immunity can also extend to departments and agencies of

 states.” Mingus v Butler, 591 F.3d 474, 481 (6th Cir. 2010) (citing

 Pennhurst State Sch. & Hosp. v. Halderman, 465 U.S. 89, 100, 104 S.Ct.

 900, 79 L.Ed.2d 67 (1984)). “The entity asserting Eleventh Amendment

 immunity has the burden to show that it is entitled to immunity, i.e., that

 it is an arm of the state.” Lowe v. Hamilton Cty. Dep't of Job & Family

 Servs., 610 F.3d 321, 324 (6th Cir. 2010) (brackets and citation omitted).

 The Sixth Circuit has identified four factors relevant to whether an entity

 is an `arm of the State' on the one hand or a `political subdivision' on the

 other”: “(1) the State's potential liability for a judgment against the

 entity; (2) the language by which state statutes, and state courts refer to

 the entity and the degree of state control and veto power over the entity's

 actions; (3) whether state or local officials appoint the board members of


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 the entity; and (4) whether the entity's functions fall within the

 traditional purview of state or local government.” Ernst v. Rising, 427

 F.3d 351, 359 (6th Cir. 2005) (en banc) (internal citations omitted).

      The Sixth Circuit has characterized the first factor—the state's

 potential liability for a judgment against the entity—as “the foremost,”

 id., the “most salient,” Town of Smyrna v. Mun. Gas Auth. of Ga., 723

 F.3d 640, 651 (6th Cir. 2013), and one creating “a strong presumption”

 on the issue. Kreipke v. Wayne State Univ., 807 F.3d 768, 777 (6th Cir.

 2015). Although this “state-treasury inquiry will generally be the most

 important factor, ... it is not the sole criterion.” Ernst, 427 F.3d at 364

 (internal quotation marks omitted). This is so because sovereign

 immunity protects not only a state's purse but also its dignity—"it . . .

 serves to avoid the indignity of subjecting a State to the coercive process

 of judicial tribunals at the instance of private parties.” Seminole Tribe v.

 Florida, 517 U.S. 44, 58, 116 S.Ct. 1114, 134 L.Ed.2d 252 (1996) (citation

 omitted). Accordingly, “the last three factors may demonstrate that an

 entity is an arm of the state entitled to sovereign immunity despite the

 fact that political subdivisions and not the State are potentially liable for




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 judgments against the entity.” Pucci v. Nineteenth Dist. Court, 628 F.3d

 752, 762 (6th Cir. 2010).

      Here, it is undisputed that the State of Michigan would be liable for

 money damages should the Defendant State Board of Canvassers be

 found liable in this suit. The Defendant State Board of Canvassers is a

 board created by the Michigan Constitution and hose members are

 appointed by the Defendant Governor Whitmer toa four-year term. See

 Mich.Const.1963, art 2, §7, MCL §§168.22(3), 168.22a and 168.22b.

 Thus, because Defendant State Board of Canvassers is “an arm of the

 state” and is considered a “state agency”, any and all claims against

 Defendant State Board of Canvassers are barred by the Eleventh

 Amendment.

      b. Plaintiffs’ State Law Claims Against Defendants
         Governor Whitmer and Secretary of State Benson In
         Their Official Capacities Are Also Barred By Eleventh
         Amendment Immunity.

      Plaintiffs’ state law claims against Defendants Governor Whitmer

 and Secretary of State Benson in their official capacities are barred by

 the Eleventh Amendment. As the Sixth Circuit has observed:




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          The Supreme Court has squarely held that pendent state law
           claims against state officials in their official capacity are
           barred by the Eleventh Amendment.... The federal courts are
           simply not open to such state law challenges to official state
           action, absent explicit state waiver of the federal court
           immunity found in the Eleventh Amendment.
 Experimental Holdings, Inc. v. Farris, 503 F.3d 514, 520-21 (6th

 Cir.2007) (citing Pennhurst State Sch. v. Halderman, 465 U.S. 89, 117-

 21, 104 S.Ct. 900, 79 L.Ed.2d 67 (1984)).

      Congress has not abrogated the Eleventh Amendment for state law

 claims, see Raygor v. Regents of Univ. of Minn., 534 U.S. 533, 542, 122

 S.Ct. 999, 152 L.Ed.2d 27 (2002), nor has the State of Michigan waived

 sovereign immunity.      Thus, Plaintiffs’ state-law claims are equally

 barred by Eleventh Amendment immunity.

      c. Relief Plaintiffs Seek Amounts To “11th Hour” Change In
         Established Election Procedure That Would
         Disenfranchise Intervenor Defendant Davis.

      As the Sixth Circuit explained in SEIU Local 1 v 698 F.3d 341, 345

 (2012), “[a]s a general rule, last-minute injunctions changing election

 procedures are strongly disfavored.” (citing Purcell v. Gonzalez, 549 U.S.

 1, 4-5, 127 S.Ct. 5, 166 L.Ed.2d 1 (2006)). Here, Plaintiffs seek to reverse

 the course of history by requesting this Court to grant the extraordinary

 remedy of “decertifying” the election results lawfully and timely certified

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 by the Defendant State Board of Canvassers and require Defendants

 Governor Whitmer and Secretary of State Benson to exercise authority

 they lack under Michigan Election Law.

       The decertification of the election results would ultimately

 disenfranchise Intervenor Defendant Davis.             Plaintiffs’ original

 complaint (ECF No. 1) and purported amended complaint (ECF No. 6)

 directly seek to void Intervening Defendant Davis’ lawfully cast vote. “A

 citizen’s right to vote free of arbitrary impairment by state action has

 been judicially recognized as a right secured by the Constitution, when

 such impairment resulted from dilution by a false tally; or by

 refusal to count votes from arbitrarily selected precincts; or by

 stuffing of the ballot box.” Baker v Carr, 369 U.S. 186, 207-208 (1962)

 (emphasis supplied). “Every voter’s vote is entitled to be counted

 once. It must be correctly counted and reported.” Gray v Sanders,

 372 U.S. 368, 380 (1963) (emphasis supplied). For “‘the right to have

 one’s vote counted’ has the same dignity as the right to put a ballot in a

 box.” Id. (internal citations omitted).




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       d. Incorporate By Reference Meritorious Arguments Made
          By Defendants and Intervening Defendants.

       In order to alleviate redundancy, Intervenor Defendant Davis

 hereby incorporates by reference all of the legal arguments asserted by

 Defendants and Intervening Defendants in their respective responses to

 Plaintiffs’ motion for TRO.


                               CONCLUSION

       WHEREFORE, for the foregoing reasons, Intervenor Defendant

 Davis prays that this Honorable Court DENY Plaintiffs’ motion for TRO

 (ECF No. 7).

 Dated: December 2, 2020            Respectfully submitted,

                                    /s/ ANDREW A. PATERSON
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                      CERTIFICATE OF SERVICE

       I, ANDREW A. PATERSON, certify that forgoing document(s) was

 filed and served via the Court's electronic case filing and noticing

 system (ECF) this 2nd day of December, 2020, which will automatically

 send notification of such filing to all attorneys and parties of record

 registered electronically.

 Dated: December 2, 2020            Respectfully submitted,

                                    /s/ ANDREW A. PATERSON
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